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U.S.A. vs. WYNTA EARNES'I`

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Petition on Probation and Supervised Releas:i">,fler

COMES NOW FREDDIE MCMASTER II PR()BATION OFFICER OF THE C()URT presenting
an official report upon the conduct and attitude of Wyr_ita Earnest who was placed on supervision by the Honorable
Bernice B. Donald sitting in the Court at Memphis, TN on the fm day of September, ZM who fixed the period
of supervision at three §3) years*, and imposed the general terms and conditions theretofore adopted by the court
and also imposed special conditions and terms as follows:

The defendant shall pay $29,980.19 restitution ($29,980.19 balance).
The defendant shall participate as directed in a program (outpatient and/or inpatient) approved by the Probation
Offlce for treatment of narcotic addiction or drug or alcohol dependency which may include testing for the detection

of substance use or abuse.

The defendant shall be prohibited from incurring new credit charges, opening additional lines of credit, or making
an obligation for any major purchase in excess of $200.00 without approval of the probation officer

The defendant shall provide the probation officer access to any requested financial information

*Terrn of Supervised Release began March 22, 2003, and was revoked October 22, 2004, with a sentence of time
served and a new one (l) year term of Supervised Release with the following additional condition:

The defendant shall serve six (6) months in a halfway house.

*Supervised Release revoked again on April 18, 2005, with a sentence of time served and a new eight (8) month
term of Supervised Release with the following additional condition:

The defendant shall serve eight (8) months in a halfway house.
RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

Ms. Earnest has not made any restitution payments while on Supervised Release. lt is recommended the Court
specifically approve the following payment plan.

PRAYING THAT THE C()URT WILL GRDER Wynta Earnest’s restitution payments be set at ten percent
(lO%) of her monthly gross income payable by the end of each month.

 

ORDER OF COURT Respectfully,
/'\J
Considered and ordered this fig day ~Y/w%, W<M n
of , ZOB and ordered filed and Freddie McMaster II
made a of the reco ds in th bove case. Probation Officer

Place Memnhis. Tennessee

 

United States District Judge

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Notice of Distribution

This notice confirms a copy of the document docketed as number 83 in
case 2:00-CR-20122 was distributed by faX, mail, or direct printing on
May 19, 2005 to the parties listed.

ENNESSEE

 

Tracy Lynn Berry

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38 l 03

Needurn Louis Germany
FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lemphis7 TN 38 l 03

Honorable Bernice Donald
US DISTRICT COURT

